                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                      3:13cr112

UNITED STATES OF AMERICA,                       )
                                                )
Vs.                                             )               ORDER
                                                )
OBIE LAMONT CHAMBERS,                           )
                                                )
            Defendant.                          )
__________________________________              )
                                                )
PETITION OF MAJDAH                              )
BIN-SALAMON                                     )
__________________________________              )

        THIS MATTER is before the court on the government’s Motion for Order Approving

Settlement and to Amend Preliminary Order of Forfeiture. Pursuant to Fed. R. Crim. P. 32.2(c),

the parties have consented to a settlement with regard to the following property (the "subject

property") listed in the Consent Order and Judgment of Forfeiture Pending Rule 32.2(c)(2) (the

"Preliminary Order") filed herein on June 13, 2013, concerning approximately $8,860 in United

States currency. The government and petitioner have stipulated and agreed and the Court finds

as follows:

              1. Petitioner has filed a timely petition in response to the Preliminary Order and the

                 court has jurisdiction over the subject property.

              2. Defendant Obie Lamont Chambers ("defendant") has or had a legal or possessory

                 interest in the subject property that is subject to forfeiture under the applicable

                 statutes.

              3. The United States and petitioner have agreed to a settlement regarding forfeiture

                 and the interest asserted by petitioner, subject to the court’s approval, as follows:


                                                    1

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           (a)     The subject property shall be forfeited in part and released in part, with

                   40%, or $3544.00, to be forfeited and 60%, or $5316.00, to be released.

           (b)     The petition shall be granted in that the sum of $5316.00 shall be paid to

                   petitioner, in accordance with applicable law. The Preliminary Order shall

                   be amended accordingly.

          (c)      Petitioner hereby releases and forever discharges the United States, its

                   agents, servants and employees, its successors or assigns, and all state or

                   local governmental entities or law enforcement agencies in North Carolina

                   and their agents, servants and employees, their heirs, successors, or

                   assigns, from any and all actions, causes of action, suits, proceedings,

                   debts, dues, contracts, judgments, damages, claims, and/or demands

                   whatsoever in law or equity which petitioner or her heirs, successors, or

                   assigns ever had, now have, or may have in the future in connection with

                   this investigation, prosecution, and forfeiture.

                                          ORDER

IT IS THEREFORE ORDERED:

       1. The government’s Motion for Order Approving Settlement and to Amend

          Preliminary Order of Forfeiture (#67) is GRANTED.

       2. The terms and conditions of the settlement are approved and incorporated in this

          Order.

       3. The Preliminary Order is hereby amended to delete the sum of "$7,960.00" and

          to provide that the sum of approximately $3544.00, out of a corrected total

          amount of $8,890.00, is forfeited to the United States. The remaining $5316.00 is



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                released and paid to petitioner, in accordance with applicable law; provided,

                however, that the government shall return the agreed amount of $5,316.00 after

                publication of notice and entry of a final order of forfeiture herein.

       4.       Each party shall bear its own costs in this ancillary forfeiture proceeding,

                including attorney’s fees.

Signed: February 24, 2014




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